Dear Auditor Montee:
This office received your letter of January 6, 2011, submitting a fiscal note and fiscal note summary prepared under § 116.175, RSMo, for an initiative petition submitted by Matt Cologna (version 2). The fiscal note summary that you submitted is as follows:
  It is estimated state government entities would incur unknown potential litigation costs and local governments would incur costs of at least $1,256,256 (one-time costs of $676,800 and on- going costs for each federal election of $579,456). Those costs may fluctuate depending on the compensation, staffing and planning decisions of election authorities.
Under § 116.175, we approve the legal content and form of the fiscal note summary. Because our review of the fiscal note summary is mandated by statute, no action that we take with respect to such review should be construed as an endorsement of the petition or as the expression of any view regarding the objectives of its proponents.
  Very truly yours,
  CHRIS KOSTER
  Attorney General *Page 1 